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           EXHIBIT “B”
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                                                      lvjcpa.clarkcountynv.gov/Anonymous/CaseDetail.aspx?CaseID=14045118

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                                                           R                          A
                                                                  C       N . 23E011552

 Signature Real Estate Group, Landlord(s) vs. Teresa R Burwell, AKA               §                     Case Type: Summary Eviction
 Teresa Renita Burwell, Trevon Latchinson, Tenant(s)                              §                     Date Filed: 03/28/2023
                                                                                  §                      Location: JC Evictions
                                                                                  §
                                                                                  §

                                                                      P       I

                                                                                                                            Lead Attorneys
 Landlord      Signature Real Estate Group                                                                                  Pro Se


 Tenant        Burwell, Teresa R AKA Burwell, Teresa                                                                        Pro Se
               Renita


 Tenant        Latchinson, Trevon

                                                              E           O               C

            OTHER EVENTS AND HEARINGS
 03/28/2023 Summary Eviction Tenant Answer
              CVS Summary Eviction Tenant Answer
 03/28/2023 Application to Proceed in Forma Pauperis - Fee Waiver Req
              AFFW Application to Proceed in Forma Pauperis
 03/28/2023 Order to Proceed In Forma Pauperis Granted
 04/19/2023 Summary Eviction Landlord Complaint
              Affidavit of Complaint for Summary Eviction
 04/26/2023 Order Setting Hearing
              Order Setting Hearing
 05/22/2023 Eviction Tenant Answer - Non Payment (2:00 PM) (Judicial Officer Brown, David)
              7 Day Notice to Pay Rent or Quit
            Result: Matter Heard
 05/22/2023 Constable Notified Motion to Stay
              Emailed constable regarding stay 05/22/2023 at 4:53 pm - KR
 05/22/2023 Motion to Stay Summary Eviction
              Motion to Stay
 05/22/2023 Order for Summary Eviction (Hearing Master)
 05/23/2023 Eviction Order Sent to Constable
 05/23/2023 Documents in Support
              TENANTS DOCUMENTS IN SUPPORT OF NOTICE OF APPEAL FILED PREVIOUSLY
 05/23/2023 Documents in Support
              TENANTS DOCUMENTS IN SUPPORT OF NOTICE OF APPEAL FILED PREVIOUSLY
 05/24/2023 Order Denying Motion to Stay
              Order Regarding Motion to Stay
 05/30/2023 Disposition Sent to Constable
 07/06/2023 Motion
              Plaintiff's Motion to Re-Issue Order for Summary Eviction
 07/12/2023 Order
              Order Regarding Motion for Reissuance of Eviction Order
 07/12/2023 Order for Summary Eviction (Hearing Master)
 07/12/2023 Eviction Order Sent to Constable
 07/17/2023 Notice of Bankruptcy
              TENANT TERESA R BURWELL'S NOTICE OF CHAPTER 13 BANKRUPTCY FILING EFFECTIVE MAY 22, 2023
 07/17/2023 Documents in Support
              TENANT, TERESA R BURWELL'S PROOF OF CHAPTER 13 BK FILING
 07/17/2023 Documents in Support
              TENANT, TERESA R BURWELL'S DOCUMENT IN SUPPORT OF NOTICE OF CHAPTER 13 BANKRUPTCY FILING

                                                                  F               I



             Landlord Signature Real Estate Group
             Total Financial Assessment                                                                                                              71.00
             Total Payments and Credits                                                                                                              71.00
             Balance Due as of 11/14/2023                                                                                                             0.00

 04/26/2023 Transaction Assessment                                                                                                                    71.00
 04/26/2023 File and Serve Payments       Receipt # CIV-2023-45341                            Signature Real Estate Group                           (71.00)



             Tenant Burwell, Teresa R
             Total Financial Assessment                                                                                                              71.00

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                                                   lvjcpa.clarkcountynv.gov/Anonymous/CaseDetail.aspx?CaseID=14045118
             Total Payments and Credits                                                                                  71.00
             Balance Due as of 11/14/2023                                                                                 0.00

 03/28/2023 Transaction Assessment                                                                                        71.00
 03/28/2023 Fee Waiver                                                                                                  (71.00)




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